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CLERK, U.S. DISTRICT COURT

 

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
YONGDA HARRIS,

Defendant.

 

 

 

No. 2:12-CR-01085-CAS

MOTION TO ORDER BOSTON FEDERAL
COURT, US DISTRICT COURT, BOSTON
FEDERAL PROBATION, US PROBATION
& PRETRIAL SERVICES, FBI, DEPT. OF
JUSTICE, US BUREAU OF PRISONS, AND
ALL OTHER RELEVANT AGENCIES TO
EXPUNGE ALL CRIMINAL RECORDS,
AND CONVICTION OF DEFENDANT.
MOTION FOR COURT DECLARATION
OF FACTUAL INNOCENCE.

SUMMARY OF THE CASE

In 2017, the Central District Court had overturned Defendant’s criminal conviction, this court

order was later unchallenged when the Government dropped its appeal and approved a joint

motion to dismiss the criminal case. In violation of Defendant’s Constitutional Rights including

his 5" Amendment and 14"" Amendment rights, Defendant discovered he is still affected by an

active criminal felony record stored in FBI, DOJ, and Court databases. Defendant had run a

Court background check in preparation for future employment. The results of a MA State Court

 

 
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background eheck on 1/25/2019 revealed Defendant has an “Open” and active case for the exact
same charge this Court had overturned and vacated. This showed up as a criminal record for
Defendant. Defendant was informed by the Edward W Brooke Courthouse in Boston, MA that
this reeord was generated by “Boston Federal Court” and “Federal Probation” in Boston, MA.
Defendant had over 1 year prior filed a motion to the Boston Federal Court after his conviction
was overturned by the Central District Court with intent to vacate and expunge any sort of record
after this Court had already granted his Habeas appeal. The Boston Federal Court disregarded
Defendant’s motion and never even responded to the content of Defendant’s demand up even to

this current date instead ordering transfer of jurisdiction to the Central District of CA.

The Boston Federal Court and Boston Federal Probation are effectively disregarding the vacating
of Defendant’s wrongful conviction by this Court and still branding Defendant as a Felon in their
criminal Court database they share with the State Court. They also refuse to hear anything
Defendant asks of them regarding his expungement of his criminal record forcing Defendant to
appeal to the Central District that jurisdiction was transferred to. Defendant is led to believe that
the Federal Agencies including the FBI, DOJ, US Federal Court, and other associated law
enforcement agencies continue to this present day. This makes Defendant a criminal still in the
legal system and has a red flag in background checks. Defendant is currently in the advanced
stages of a job application background check and this still existing “criminal record” in the Court

system will negatively affect his employment chances.

Petitoner requests emergency relief from this Court to ORDER the Boston Federal Court, Boston
Federal Probation, FBI, DOJ and all associated law enforcement agencies to clear their databases

of any open and/or active criminal record of Defendant and expunge his criminal conviction

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1 | within the next 24 hours. Defendant specifically requests the Court to order a hearing in session

 

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2 t motion hearing date on Monday May 13, 2019.
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4 hohe
Defendamt is attaching the contact information for the FBI and assume this Court can send
5 .
6 independent communication on its own to the Boston Court and all other law enforcement

7 agencies needed.
9 hips ip wat gov/services/cjis/fingerprints-and-other-biometrics/arrest-disposition-submission

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bmit Expungements (must be submitted by a criminal justice agency/court only): Mail
12 4
£5 papellmbiftements to the following address: BSU Inventory Control — Expungements FBI CJIS
Tia
14 Division, BSS 1000 Custer Hollow Road Clarksburg, WV 26306 Send expungements via e-mail

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15 || to =_—eer gov. Send expungements via facsimile to 304-625-9815.

16

17 SUPPLEMENTAL FILING TO PLEADING OF Emergency Motion to Order Boston Federal

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: Court _o Federal Probation and the FBI and Department of Justice to Expunge all

19 we.
Criminal Records and Conviction of Defendant
20 “a

5 Supplemental MOTION for EX PARTE SEALING of Defendant’s identifying information
7 includ but not limited to Social Security numbers, address, employer name, birthday, bank
23 accounts, and any other sensitive personal information included.

24 DEFENDANT wishes to attach a supplemental filing to the initial pleading sent to the Court in

of
25 accord with Rule LR 7-5 and 7-6.
26

The supplemental includes new information Defendant has received from his potential employer
27 .

revealing the FBI Criminal Database still has Defendant effectively listed as a Felon with a

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Fedegaapiaginal Record for the Original Charge that was overturned by the Court
(Re: 12 1085CAS). The employer is Bank of America and had sent Defendant a job offer ofa
very well paid position at their bank with benefits (Exhibit #2). Defendant reports to the Court he
has suffered extreme financial harm and ongoing financial hardship and he had also applied to
— | banks for employment but discovered he will not be able to pass the FBI criminal
back iilind check.
AS atadhed in Exhibit #1, the FBI background criminal record does not include any information
on the iene of Defendant’s conviction and instead lists him as an active criminal. In light of
the seyaee financial, social, and mental harm to himself, Defendant requests the Court order the
FBI to inimediately expunge their databases of this factual inaccuracy in order to ensure
Defendant can satisfactorily pass all FBI criminal background checks. Defendant requests the
Court t0 issue a formal written order that states as a matter of fact Defendant does not have a
criminaieeord, his criminal charge was vacated, and his is fully exonerated under the law.
Defeliiam requests the Court issue an order to be transmitted to US Probation & Pretrial Services,
Boston Federal Probation department, Boston Federal Court, and the US Attorney’s office to

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expunge the Massachusetts State criminal court background check system.

Defendant had sent the FBI a letter (Exhibit #3) via certified mail on 4/5/2019. Defendant had

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not received any response as of yet.
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Defendant prays and pleads with the Court for assistance and relief in this serious matter.

Defendant should not have a criminal record anymore since the successful appeal of his 2255
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convietion and the fact that the FBI database and the MA State Court CARI database and

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wid,”
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potential « other unknown government databases run through background checks still flag
Defendant as a felon has a significant adverse impact on Defendant’s ability to get a stable job
and reinigerae properly into society.

Defendant also requests EX PARTE sealing of all sensitive financial and personal identifying

information including but not limited to his Social Security number, etc from being released to

the publie.

Defendant reports to the Court he is using the exact written instruction for filing Pleading papers
Se y. ;

to the Gaart from this website: http://www.caed.uscourts.gov/caednew/index.ctm/attorney-

info/word-'ormat/. The United States District Court for the Eastern District of

California provided via its website this exact specific Pleading format for this Motion Defendant
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is mailifig to the Court. Defendant informs the Court with his compliance with the instructions

provided by the Eastern District of California that this should not be considered a violation of

Local Rule 83-2.5 and should be considered by the Court as a proper Motion to be heard on May

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13, 2019 and no later.

Defendant also provides proof of service with a copy of his certified mail receipt and certified

mail tracking # to the US Attorney that can be tracked on the website: https://www.usps.com/.

Defenilial requests the Court consider appointment of a Victim advocate under 18 U.S. Code
§ 3771 to assist him in the filing of criminal charges against the individuals responsible for the

crimes Committed against him and his family throughout this ordeal. Defendant does not reside
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in California and it presents extreme hardship and logistical challenges for him to seek law

enforcement action and protection of his and his family’s lawful rights as American citizens.

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Defendant is under extreme disability and requests the Court to take into consideration the

   

ri mary stress and hardship he is under and not treat him like a person with perfect health.

It is anextreme mental and physical hardship for the stresses Defendant has to undergo to do this |
Pro Se lew work without any assistance. He has elevated blood pressure, medical problems, and
PTSD fam this ordeal and requires therapy and assistance in seeking proper justice against
individwals who violated repeatedly and over a multi-year period his Constitutional rights and
committed multiple felonies against him and his family. Defendant had tyried multiple times to
ielephigamally file charges without success from the LAPD (he is effectively denied access to

protection under CA law) and asks the Court to order enforcement of his Equal protection right

under the 14 Amendment.

 

 

 

 

 
   
     
  
   
   
  
   

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Consent to Proceed Bé
Magistrate Judge

Court Agency Informati Misrasoft Word =Octeber 1, 2015

Court tnt ‘ Effective October 1, 2013, the United States District Court for the — District of California is a Microsoft Word only court.
Court Interpreters

All documents required to be submitted to the court in word processing format pursuant to Local Rules 137, 163 and 281

roposed j instructi i b bmi i
Court Reporters / Trang (proposed orders, jury instructions and pretrial statements) must be su mnie in Word format (.docx).

The following pleading paper instructions and templates are provided 10 assist counsel in submitting their documents in

Eastern Disirict Confer Microsoft Word format.

Electronic Evidence S|
Presentation

Pleading Paper Instructions

Arial Pleading Paper
Fee Schedule
Courier Pleading Paper
Judicial Advisory Comr 7 .
Times New Roman Pleading Paper

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POTATY HST ES If you need to save your WordPerfect document in Word format to submit: to the court, there are instructions on saving in Word

. . format below.
Lawyer Representative’

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Circuit Judicial Confer Instructions on saving WordPerfect documents in Word format

Links Note: If you are converting from WordPerfect to Word, please save in .docx format. There is a known issue with the na

conversion of pleading paper, which is acceptable. :
Nursing Mothers infor

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, or you can contact the Public Affairs Office.

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Central Distri@egiCalifornia Fax line: (213) 894-0141 —_—

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Suite 7516

Los Angeles/™ 90012

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